Case 2:05-CV-02015-BBD-tmp Document 27 Filed 08/25/05 Page 10f3 Pag

IN THE UNITED sTATES DISTRICT CoURT n
FoR THE wEsTERN DISTRICT oF TENNESSEE F“fn B¥ --

  
  

 

WESTERN DIVISION
05 AUG 25 PH 3= 50
)
TERRY J. JOHNSON and wife ) MP§M
DOROTHY JOHNSON ) Wfl‘} gt ']:§.!l_ highde
)
Plaintiff, )
)
v. ) No. 05-2015 DP
)
THE CITY OF DYERSBURG, )
Chief of Police Bob Williamsoo; )
Ofi"icer Chris Clements; Owner, )
Homestead Ace Hardware; Bobby )
Sellers, Agent of Homestead Ace )
Hardware; Mark Gwyn, Director of )
Tennessee Bureau of lnvestigation, )
Information Systems Division, TBI )
Instant Check System (TICS), )
)
Defendarlts. )
)

 

ORDER TO SHOW CAUSE

 

On July 14, 2005, Defendant Chris Clernents filed a motion for summary judgment Plaintiffs
Terry and Dorothy Johnson to date have not responded to Defendant’s motion. Accordingly, Plaintiffs
are hereby ordered to file a written response within twenty days of this order. Thereaf’cer, Plaintiffs will

be deemed to have waived their right to respond and the motion will be decided on the existing record.

IT Is so oRDERED this 3 f day ofAugust, 2005.

 

 

B
NITED STA'I`ES DISTRICT JUDGE

Th‘is document entered on the docket
irwin -”`-<1’”->. 58 and/or 79(3) FF~‘,CD '“*‘~

 

'Zfl

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CV-02015 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Lisa Ann Overall
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/lemphis7 TN 38103

Loys A. Jordan
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/lemphis7 TN 38103

DaWn Jordan

ATTORNEY GENERAL'S OFFICE
P.O. Box 20207

Nashville, TN 37202

Williarn L. Johnson

LAW OFFICE OF WILLIAM L. JOHNSON
212 Adams Ave.

1\/lemphis7 TN 38103

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/lilan7 TN 38358

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
209 E. Main St

P.O. Box 1147

Jackson7 TN 38302--114

Fred Collins

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/lilan7 TN 38358

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John D. Burleson

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

Jackson7 TN 38302--114

Lisa Ann Overall
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/lemphis7 TN 38103

John D. Burleson

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Ste. 400

1\/lemphis7 TN 38103

DaWn Jordan

ATTORNEY GENERAL'S OFFICE
P.O. Box 20207

Nashville, TN 37202

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
209 E. Main St

P.O. Box 1147

Jackson7 TN 38302--114

Fred Collins

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/lilan7 TN 38358

Honorable Bernice Donald
US DISTRICT COURT

